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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

MICHAEL BRAXTON                                    :   CIVIL CASE NO:
                                                   :
V.                                                 :   JUDGE:
                                                   :
THE CITY OF NATCHITOCHES and                       :   MAGISTRAGE:
RONNIE WILLIAMS, JR., MAYOR                        :
OF THE CITY OF NATCHITOCHES                        :   JURY DEMAND


                                        COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes MICHAEL BRAXTON,

(“Plaintiff” or “Braxton”), who respectfully represents the following:

                                    NATURE OF ACTION

       1.      Braxton, a former employee of the City of Natchitoches (“City”), seeks redress for

his unlawful termination by the City. Specifically, on June 3, 2021, The City terminated the

employment of Braxton, because of political affiliation and favoritism, and in violation of

Braxton’s rights under the Constitution of the United States and the State of Louisiana and without

due process of law, and in further violation of the Family and Medical Leave Act (“FMLA”),

codified at 29 U.S.C. § 2601 et seq, and the Americans with Disabilities Act (“ADA”), codified at

42 U.S.C. § 12101 et seq., and other state laws.

       2.      This is a case of official retaliation, harassment and intimidation, resulting in

violations of Plaintiff’s constitutional right to exercise his rights to vote and to work free from

discriminatory retaliation. Braxton files this suit seeking reinstatement, in order to stop these

unconstitutional affronts committed by the Defendants and to recover damages for illegal action.




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                                  JURISDICTION AND VENUE

        3.      This action arises under the First and Fourteenth Amendments to the United States

Constitution, as made applicable to the Defendants by the due process clause of the Fourteenth

Amendment thereto, under §§ 1983, 1988(b) and (c), Title 42 of the United States Code and under

the Louisiana Constitution. This is also a case that asserts violation of the FMLA and ADAA and

other state laws.

        4.      This Court has original subject matter jurisdiction in this action pursuant to 28

U.S.C. §1331 and 1343 because this is a civil action to recover damages under an Act of Congress

for the protection of civil rights.

        5.      Venue is proper in this judicial district and division pursuant to 28 U.S.C. §1391(b).

Defendants reside in the Western District of Louisiana, Alexandria Division. Moreover, a

substantial part of the events or omissions giving rise to the claims asserted herein occurred in this

district and division.

        6.      This Court may exercise personal jurisdiction over the Defendants, because they

are residents of the Western District of Louisiana, Monroe Division.

                                          THE PARTIES

        7.      PLAINTIFF:

                Michael Braxton is an adult male citizen of the United States who resided in

Natchitoches Parish, Louisiana, during all times referenced herein.

        8.      DEFENDANTS:

                A.       The City of Natchitoches, a municipal corporation, that may be served

through Mayor Ronnie Williams, Jr.




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                B.     Ronnie Williams, Jr., Mayor of the City of Natchitoches (“Mayor”) is sued

in his individual and official capacities as the policy-maker and agent of the appointing authority

for the City.

                                  FACTUAL ALLEGATIONS

           9.   Braxton was employed as the Director of Public Works with the City from March

31, 2003 until June 3, 2021. The position Braxton last held was the position of Director of Division

of Public Works. Up to, and including, the date of the termination of his employment, Braxton had

received excellent performance evaluations and numerous commendations for his exemplary

service.

        10.     On or about September 1, 2020, immediately following his election to office,

Mayor Ronnie Williams, Jr. (“Mayor”) summoned Plaintiff to his office and informed Plaintiff

that because Plaintiff did not vote for him or support his candidacy for Mayor that the Mayor

intended to terminate Plaintiff’s employment.

        11.     Shortly thereafter, when Plaintiff reported the Mayor’s statement to others and

complained about the retaliatory nature of the same. When questioned about the statement, the

Mayor repeatedly confirmed the statements he had made to Plaintiff, and in fact, repeated the same

statements to City Council members, Dale Nielsen, Eddie Harrington, and Betty Sawyer-Smith.

        12.     On September 9, 2020, Plaintiff was injured at work. He subsequently made a claim

under Workman’s Compensation laws of the State of Louisiana, and as a result was also placed on

leave under the FMLA effective October 14, 2020. When this protected leave expired, Plaintiff

requested additional leave as an accommodation under the ADA.

        13.     In response to the City’s request for documentation for workman’s compensation

benefits and FMLA and ADAA leave, Plaintiff provided sufficient medical documentation.



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Notwithstanding his compliance with all requests, on June 3, 2021, the City terminated Plaintiff’s

employment without (i) engaging in any interactive process with Plaintiff and/or (ii) without

seeking additional information necessary to provide a reasonable accommodation.

       14.     The decision to terminate the employment of Braxton was not based on any

legitimate workplace performance issue, but was based, in part, upon political favoritism and

affiliation and on Braxton’s lack of political support for the Mayor.

       15.     Braxton was not afforded a hearing and was not afforded due process of law with

respect to the termination of his employment.

       16.     Mayor Williams’s adverse actions were substantially motivated against Braxton as

a result of his exercise of constitutionally protected conduct.

       17.     The decision to terminate was not based on any legitimate workplace performance

issue but was also in retaliation for Plaintiff taking protected leave under the FMLA and in

violation of the ADA with respect to the accommodations requested.

       18.     The decision to terminate was not based on any legitimate workplace performance

issue but was also in retaliation for Plaintiff making a claim under Workman Compensation laws

of the State of Louisiana.

       19.     Braxton has suffered both economic and non-economic damages as a result of these

violations.

                                     CLAIMS FOR RELIEF

        Count One: Violation Of 42 U.S.C. §1983 For First Amendment Retaliation

       20.     The preceding paragraphs are incorporated into each count below by reference.




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       21.      Braxton was and is guaranteed certain rights under the First Amendment to the

United States Constitution to be free from discrimination based upon political affiliation,

sponsorship and favoritism.

       22.      Braxton was terminated because the Mayor believed that Plaintiff did not vote for

the Mayor and did not support him in his election. This is direct evidence of retaliatory intent.

       23.      Defendant, Mayor Williams, did not consider Braxton to be a political ally of

himself.

       24.      Mayor Williams was well informed of Braxton's political affiliations with the party

and administration.

       25.      Prior to his termination, Braxton had no close contact with any Natchitoches City

policymakers.

       26.      Prior to his termination, Braxton had no highly confidential communication with

any Natchitoches City policymakers.

       27.      Prior to his termination, Braxton had no autonomous or discretionary authority.

       28.      Prior to his termination, Braxton did not participate in determining policy, which

fixed objectives, or stated principles to control action toward operating objectives, or toward the

conduct of the City or any other administrative units immediately subordinate to the Mayor.

       29.      Prior to his termination, Braxton's actions were at all-time subject to the approval

by Defendants, as well as, additional levels of management approval.

       30.      Prior to his termination, Braxton did not act authoritatively on any policy-making

issue impacting the City or its operations.




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       31.        Prior to his termination, Braxton had no meaningful input into government

decisions making on issues where there was room for principled disagreement on goals or their

interpretation.

       32.        Prior to his termination, Braxton did not act as an advisor to Defendants, nor did

Braxton formulate plans for implementation of broad goals.

       33.        Prior to his termination, Braxton's responsibilities were tightly constrained by state,

parish and department rules and regulations.

       34.        Prior to his termination, Braxton had no broad discretionary policymaking powers.

       35.        Braxton's termination did not further any vital government interest.

       36.        Braxton's termination did not further a vital government interest by means that was

the least restrictive to freedom of speech and association.

       37.        The effective operation of government was not compromised by Braxton's political

affiliation or declared or perceived failure to vote for or support the Mayor.

       38.        Political affiliation is not an appropriate requirement for effective performance of

Braxton's position.

       39.        Braxton's position with the City is not a policy- making position for which political

affiliation is an appropriate requirement for the effective performance of that position.

       40.        The City, through Mayor Williams, unlawfully based his decision to terminate

Braxton based upon Braxton’s declaration that he did not vote for the Mayor and upon the Mayor’s

belief of Braxton's political affiliation, support and allegiance.

       41.        Defendants, acting under the color of state law, deprived Braxton of his rights under

the First Amendment of the United States Constitution in violation of 42 U.S.C. §1983 and legal

precedents clearly established at the time of the termination.



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       42.     Defendants’ actions were and are the proximate cause of injury and damage to

Braxton.

       43.     Defendants’ actions to terminate Braxton in violation of his First Amendment rights

of free speech and association irreparably harmed Braxton.

       44.     The actions of all Defendants were intentional, willful, and malicious and/or in

reckless disregard for Braxton’s rights as secured by 42 U.S.C. §1983, as amended by the Civil

Rights Action of 1991, in violation of the United States Constitution as applicable to the states by

the Fourteenth Amendment and in violation of Louisiana Constitution Article 1, Section 7.

       45.     Defendants’ actions were done with deliberate oppression and were done willfully

or with such gross negligence as to indicate wanton disregard for rights of Braxton.

       46.     The actions of Defendants were taken in an effort to terminate Braxton for reasons

wholly unrelated to legitimate objective.

       47.     The actions of Defendants in terminating Braxton are likely to chill the exercise of

constitutionally protected free speech and association of others in a comparable position.

       48.     Braxton was terminated without cause or justification.

       49.     No reasonable cause or justification existed to terminate Braxton’s employment.

       50.      By wrongfully discharging Braxton without cause or justification Defendants acted

willfully and with malice toward Braxton.

       51.     Upon information and belief the City supports, through its policies and customs an

unlawful patronage system, and Defendant’s actions in terminating Braxton furthered the same.

       52.     As a direct and proximate result of the actions of the Defendants in intentionally

making unlawful patronage-based employment decisions to the detriment of Braxton has caused




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Braxton great mental anguish, humiliation, degradation, physical and emotion pain and suffering,

inconvenience, lost wages and benefits, future pecuniary losses, and other consequential damages.

       WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

Braxton and award Braxton:

       A.     a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

              Director of Public Works, with all attendant wages and benefits, retroactive to June

              2, 2021;

       B.     Compensatory damages to Plaintiff in an amount to be proven at trial of this matter,

              jointly and severally against each of the named Defendants;

       C.     Punitive damages as allowed by law;

       D.     All wages and benefits Plaintiff would have received but for the unlawful

              discrimination, including pre-judgment interest;

       E.     Attorneys' fees and costs and expenses of this litigation as permitted by 42 U.S.C.,

              U.S.C. §1988; and

       F.     Grant such other relief as the Honorable Court deems just and equitable.

                   Count Two: 42 U.S.C. § 1983 Violation of Due Process in
                          Violation of the Fourteenth Amendment

       53.    Braxton realleges all of the above paragraphs as though fully set forth herein.

       54.    Braxton has a property interest in his continued employment with the City as well

as benefits, such as salary associated with that employment, which could not be lawfully taken

away without due process of law. This property interest was created by, among other things, (i)

promise of future employment, a (ii) payroll deductions, and (iii) other actions, which gave

Braxton a legitimate claim of entitlement to his job with the City. On June 3, 2021, Braxton was

terminated, without cause and for improper purposes, from his employment with the City.


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        55.    Prior to his termination Braxton was not afforded any hearing nor independent

arbitration.

        56.    To date Braxton has not been afforded a hearing relating to the merits of his

termination.

        57.    The Defendants' deprivation of Braxton's rights without due process has caused

Braxton great mental anguish, humiliation, degradation, physical and emotional pain and suffering,

inconvenience, lost wages and benefits, future pecuniary losses, and other consequential damages.

        58.    The actions of Defendants were intentional, willful, and malicious and/or in

reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. §1983, as amended by the Civil

Rights Act of 1991, in violation of the United States Constitution, as applicable to the states by the

Fourteenth Amendment.

        WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

Braxton and award Braxton:

        A.     a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

               Director of Public Works, with all attendant wages and benefits, retroactive to June

               3, 2021;

        B.     Compensatory damages to Plaintiff in an amount to be proven at trial, jointly and

               severally against each of the named Defendants;

        C.     Punitive damages as allowed by law;

        D.     All wages and benefits Plaintiff would have received, but for the unlawful

               discrimination, including pre-judgment interest;

        E.     Attorneys' fees and costs and expenses of this litigation; and

        F.     Grant such other relief as the Honorable Court deems just and equitable.



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  Count Three: Claim for Violations of the Louisiana Constitution Against All Defendants

        59.      Braxton realleges all of the above paragraphs as though fully set forth herein.

        60.      The Louisiana State Constitution, like the United States Constitution, guarantees a

 person’s right to be free from political retaliation, to equal protection, to due process of law, and

 to additional unenumerated rights. See La. Cost. Art. I, §§ 2 and 8 of the Louisiana State

 Constitution.

        61.      By reason of the same intentional, malicious, reckless and deliberate conduct that

 violated Plaintiff’s rights under the United States Constitution, Defendants’ conduct violated the

 rights guaranteed to Plaintiff under Article I, §§ 2 and 8 of the Louisiana State Constitution.

        62.      Under Louisiana law, termination of employment in violation of procedural due

 process rights renders the termination a nullity.

        63.      These violations by Defendants of the Louisiana State Constitution proximately and

 directly caused Plaintiff to suffer physical, emotional and pecuniary damages as described above.

        WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

 Braxton and award Braxton:

        A.       Declaration that the termination of Braxton’s employment in violation of due

                 process rights renders the termination a nullity;

        B.       a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

                 Director of Public Works, with all attendant wages and benefits, retroactive to June

                 3, 2021;

        C.       Compensatory damages to Plaintiff in an amount to be proven at trial, jointly and

                 severally against each of the named Defendants;

        D.       Punitive damages as allowed by law;



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        E.      All wages and benefits Plaintiff would have received, but for the unlawful

                discrimination, including pre-judgment interest;

        F.      Attorneys' fees and costs and expenses of this litigation; and

        G.      Grant such other relief as the Honorable Court deems just and equitable.

   Count Four: Claim for Violations of the Family Medical Leave Act Against Defendants

        64.     Braxton realleges all of the above paragraphs as though fully set forth herein.

        65.     Braxton took protected leave under the FMLA and on June 3, 2021, his employment

 was terminated.

        66.     The actions and conduct of Defendant set forth herein constitute interference,

 restraint or denial of Plaintiff’s rights under the Family Medical Leave Act in the following non-

 exclusive particulars:

        A.      Failing to provide Plaintiff with leave as required by the FMLA;

        B.      Failing to properly reinstate Plaintiff following the FMLA leave, and

        C.      Retaliating against Plaintiff for requesting leave due under FMLA;

        WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

 Braxton and award Braxton:

        A.      Declaration that the termination of Braxton’s employment is in violation of the

                FLMA act;

        B.      a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

                Director of Public Works, with all attendant wages and benefits, retroactive to June

                3, 2021;

        C.      Compensatory damages to Plaintiff in an amount to be proven at trial, jointly and

                severally against each of the named Defendants;



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        D.      Punitive damages as allowed by law;

        E.      All wages and benefits Plaintiff would have received, but for the unlawful

                discrimination, including pre-judgment interest;

        F.      Attorneys' fees and costs and expenses of this litigation; and

        G.      Grant such other relief as the Honorable Court deems just and equitable.

  Count Five: Claim for Violations of the Americans with Disabilities Act Amendments Act

        67.     Braxton realleges all of the above paragraphs as though fully set forth herein.

        68.     Braxton requested leave as an accommodation for his disability following the

 expiration of his protected leave under the FMLA, and for the provided medical documentation of

 the same.

        69.     On June 3, 2021, Braxton’s employment was terminated for reason which were

 false and pretextual. Specifically, the City failed to engage in the interactive process as required

 by the ADA, and the action and conduct of the Defendants constitute discrimination due to

 disability and/or being regarded as disabled in violation of 42 U.S.C. § 12101, et seq.

        WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

 Braxton and award Braxton:

        A.      Declaration that the termination of Braxton’s employment is in violation of the

                ADAA;

        B.      a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

                Director of Public Works, with all attendant wages and benefits, retroactive to June

                3, 2021;

        C.      Compensatory damages to Plaintiff in an amount to be proven at trial, jointly and

                severally against each of the named Defendants;



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       D.     Punitive damages as allowed by law;

       E.     All wages and benefits Plaintiff would have received, but for the unlawful

              discrimination, including pre-judgment interest;

       F.     Attorneys' fees and costs and expenses of this litigation; and

       G.     Grant such other relief as the Honorable Court deems just and equitable.

                    Count Six: Claim for Violations of State Law Claims

       70.    Braxton realleges all of the above paragraphs as though fully set forth herein.

       71.    The June 3, 2021 termination was in retaliation for Braxton’s claim under the State

 of Louisiana’s workman’s compensation laws.

       WHEREFORE, Braxton requests that this Honorable Court enter judgment in favor of

 Braxton and award Braxton:

       A.     Declaration that the termination of Braxton’s employment is in violation of the

              State of Workman’s Compensation laws;

       B.     a permanent injunction ordering Defendants to reinstate Plaintiff to the position of

              Director of Public Works, with all attendant wages and benefits, retroactive to June

              3, 2021;

       C.     Compensatory damages to Plaintiff in an amount to be proven at trial, jointly and

              severally against each of the named Defendants;

       D.     Punitive damages as allowed by law;

       E.     All wages and benefits Plaintiff would have received, but for the unlawful

              discrimination, including pre-judgment interest;

       F.     Attorneys' fees and costs and expenses of this litigation; and

       G.     Grant such other relief as the Honorable Court deems just and equitable.



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                                         JURY DEMAND

         72.     Pursuant to Federal Rule of Civil Procedure 38 and the Seventh Amendment,

 Plaintiff requests a trial by jury.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands a judgment for actual damages against the Defendants,

 punitive damages against the individual Defendants, attorneys’ fees and costs as available by

 relevant statutes and laws, and such other and further relief as this Court may deem appropriate.

                                               Respectfully submitted,

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                                               By: /s/ Allison A. Jones_________
                                               ATTORNEYS FOR PLAINTIFF




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